Opinion issued August 22, 2024




                                      In The

                               Court of Appeals
                                      For The

                          First District of Texas
                             ————————————
                               NO. 01-23-00343-CR
                            ———————————
              STEPHON NATHANIEL MARTIN, JR., Appellant
                                         V.
                       THE STATE OF TEXAS, Appellee


                    On Appeal from the 506th District Court
                             Waller County, Texas
                       Trial Court Case No. 20-10-17468


                          MEMORANDUM OPINION

      A jury found Appellant Stephon Nathaniel Martin, Jr. guilty of the offense of

aggravated sexual assault and assessed his punishment at seven years’ incarceration.

On appeal, Martin argues (1) the trial court erred by denying his motion for directed

verdict in which he argued there was insufficient evidence that he used or exhibited
a deadly weapon during the commission of the offense, and (2) the trial court erred

by making an improper comment during voir dire that deprived him of a fair

punishment trial. We affirm the trial court’s judgment.

                                    Background

      Appellant Stephon Nathaniel Martin, Jr. was charged by indictment with the

first degree felony offense of aggravated sexual assault.1 The indictment alleged

that “on or about the 15th day of August 2020 . . . [Martin] did then and there

intentionally and knowingly cause the penetration of the sexual organ of Kendallyn

Harris” without her consent “and in the course of the same criminal episode [Martin]

used or exhibited a deadly weapon, namely a firearm.”

A.    Voir Dire

      During voir dire, the panel was instructed that, if Martin were found guilty of

aggravated sexual assault, the applicable punishment range would be five to ninety-

nine years’ incarceration, and if the imposed sentence was less than ten years, the

jury could recommend that Martin be placed on probation for any term of not more

than ten years.2 The defense, the State, and the trial court questioned the panel


1
      See TEX. PENAL CODE § 22.021.
2
      See TEX. PENAL CODE § 12.32(a) (stating first degree felony punishable by
      imprisonment for life or any term not more than ninety-nine years or less than five
      years); TEX. CODE CRIM. PROC. art. 42A.053(a)(1), (d)(1) (authorizing trial court
      to suspend imposition of sentence for felony offense and place defendant on
      community supervision for period no less than minimum term of imprisonment
      applicable to offense); see generally Euler v. State, 218 S.W.3d 88, 89 n.1 (Tex.
                                           2
extensively to determine whether they would be able to consider the full range of

punishment should Martin be found guilty of the charged offense:

      Court:   Okay, in order to qualify you for this jury, you must know
               what the possible punishment range is for this offense. You
               will be asked if you can consider the entire range of
               punishment for this type of offense. You will not be asked to
               commit to any particular punishment, either high or low in
               this case until you have heard all the evidence. We simply
               need to know if you will be able to keep an open mind as to
               the entire range of punishment until you have heard all the
               facts. Are you all okay with that? And they are going to go
               over the punishment range with you. If I’m not mistaken, I
               believe it is five to 99, is that what we are looking at?

      State:   Yes.

      Court:   Five years to 99 years. Okay? If any sentence that may be
               imposed is less than 10 years, the jury may recommend the
               Defendant be placed on probation for any term of not more
               than 10 years, along with the fine. So, those are the
               punishment ranges you will be asked to consider in this case.

               ....

               There are obviously some cases that present those kind of
               facts that require punishment in the upper range, but there are
               also those kind of cases that do not present those kinds of
               facts, and are worthy of lesser punishment.

               . . . If there is something in your mind that tells you it is simply
               not possible to accept the law in this case, and the possible
               punishment range provided by the law, the attorneys will need
               to know that during you[r] questioning, and they will get to


      Crim. App. 2007) (“[W]e will refer to ‘community supervision’ by its common
      name, ‘probation.’”); Hongpathoum v. State, 578 S.W.3d 213, 214 n.1 (Tex. App.—
      Fort Worth 2019, no pet.) (stating terms “community supervision” and “probation”
      are “synonymous and generally used interchangeably”).

                                           3
         you on that. Okay? We had one lady that we let go. Her
         religion just said flat out she could not judge anyone. And so,
         because of that, there was no use in keeping her around.
         Okay? All right.

         Therefore to take any of these discussions about punishment
         into consideration as a presumption of guilt in the trial of case
         [sic]. The Defendant is presumed to be innocent until proven
         guilty, beyond a reasonable doubt.

         ....

         You may believe that a person who has been convicted of
         sexually abusing another person should be in jail. I agree with
         that principle, but you and I do not know if that man here
         today is guilty of that offense. He has not been convicted, only
         accused. We have not heard any evidence yet.

         ....

State:   As far as the trial, there is the guilt/innocence portion, and
         then that’s where we decide the elements and whether it’s
         proven beyond a reasonable doubt. And then we go to the
         punishment phase, and that is a separate phase to decide the
         appropriate sentence.

         So, some people may feel that the law ought to be stronger on
         certain things. That doesn’t mean you are automatically
         disqualified. It is whether you can consider everything. So,
         right now without having heard anything, can you be open
         minded to all options regarding punishment? So, if you can
         consider, hypothetically speaking, you know, you could
         consider five to 99 as punishment, right? So, you don’t know
         what the facts are, I can’t tell you the facts. But can anyone
         say that in no situation can I potentially consider the entire
         range of punishment? There is an element there that I’m just
         not going to consider it at all. Anyone? And probation as well.
         Is there anyone who says for this crime there is not a situation
         that I can even consider or think of that probation would be
         appropriate? You will listen to the evidence, right? Will
         anyone consider that? All right.
                                   4
                  So, once you hear the facts, and you decide and you feel
                  whatever punishment you feel is right based on the evidence,
                  right? Use all the tools in your tool kit.

                  ....

      Defense: On a scale of one to seven, with one being strongly agreed,
               and seven being strongly disagree, how would you answer the
               following question: If the facts justified it, and the law
               allowed it, I could not consider assessing the minimum
               punishment and recommended probation. After you hear this
               case and remember, this case is not going to be something
               simple, it’s not going to be easy. It does involve some mature
               matters and graphic details. It’s going to happen. And we all
               know that if you have something that you would like to tell
               the Court and tell myself in private you are free to do that,
               too. But this is something that is very critical to my client.
               Very, very critical to Mr. Martin. So, if you see that question
               in this case, based on what you know, but after you hear the
               facts, you have heard aggravated sexual assault. Could you
               ever consider probation, Juror Number 1? If you find him
               guilty?

Several jurors responded that they could not recommend probation for anyone found

guilty of aggravated sexual assault:

      Juror 29:      Just to clarify, the question is, could we consider
                     probation?

      Defense:       Yes. For this type of charge for this type of case.

      Court:         Remember, you don’t know what the facts are at that
                     point.

      Defense:       But sometimes people say if I found that person guilty I
                     could never give probation. And that’s what I’m trying to
                     find out. It’s okay to say—just I want—it is an important
                     day for myself and Mr. Martin, and what is your opinion
                     about that?

                                            5
Juror 29:   My opinion is that I cannot.

Defense:    You cannot. So, where would you be on that numerical
            scale? You could be a Number 1? And your number,
            again, number 29?

Juror 29:   1.

            ....

Court:      Okay . . . we are at the hour mark. I do have a question
            after everybody answered that question. I want to make
            sure y’all understand, or make sure that after I heard a lot
            of 1s and 2s. If I give you, as this Court, an instruction that
            you are to consider probation upon a guilty of aggravated
            sexual assault, can you do that? Y’all haven’t heard any
            facts. You don’t know what the facts are. Y’all might say,
            “oh, I heard that, I can make that decision.” So, I guess my
            question is: I need to make sure that you’re not saying,
            “Oh, if he is guilty of sexual assault, I’m not doing
            probation.” Because that’s not what the law is. That’s not
            going to be what the instructions is. Can you follow the
            law if I give you that instruction? If anybody can’t follow
            that instruction on the law, I need you to raise your hand.
            That’s what we are talking about. Okay. All right.

            ....

            If you can’t follow the law, I can’t put you on the jury. . .
            Because I have to have fair jurors over there to follow the
            law and the instructions that I give on the law. . . . If you
            are saying, “Man, if this gentleman is guilty of aggravated
            sexual assault without not knowing any of the facts, then
            I’m going to not give him probation,” and that’s not what
            the law says he is possibly entitled to, and you are not
            following the law. That’s what I need to know. All right?

            ....

Court:      . . . So, what I’m asking is if you can consider everything
            before making the decision, and if you can do that. I’m not
                                   6
           saying that you have to give someone probation. Just like
           I’m not saying you have to give someone 99 years. But can
           you consider the whole spectrum, because the law says
           that you can. Do we understand?

           ....

           If the law says that he is entitled to probation, or you can
           give him 99 years, y’all can consider all of the whole
           range. That’s all I’m saying. I’m not saying that you are
           required to give the man probation.

Defense:   But you did state it earlier correctly, which is if they did
           find him guilty of aggravated sexual assault, with a
           firearm, could they give him probation.

Court:     Our law says that even if you are found guilty of sexual
           assault with a firearm, that the range of punishment can be
           from probation to 99 years. Okay? No one is saying that
           you have to give the person probation. But no one is saying
           that you have to give them 99 years. And I don’t know
           what the facts are in this case, okay? But let’s say there are
           facts here that say, “You know what, he is a good kid or
           go[od] boy or a good man or whatever, and because of this,
           this, and this, yeah, he is a candidate for probation.” Or the
           same thing on the other side. “Man, he is the most evil
           person you ever met in your life. He deserves 99 years.”
           I’m just asking that you consider all of that after you hear
           the facts of the case. . . . So, that’s what I’m asking. I’m
           not asking you to give someone probation. I’m asking that
           you consider. And so, does that change anybody’s mind?

Defense:   So, the question is: In the appropriate case, could the jury
           consider giving someone probation after they were found
           guilty of aggravated sexual assault of a firearm?

Court:     Can you follow my instructions and follow the law, is the
           question. And in these type [of] cases probation is
           something that the law allows you to consider. Is there
           anybody that cannot do that? If you can’t do that, that’s

                                  7
                   fine, just raise your hand. Okay. So, that cuts it back down.
                   All right. Hold them high. Okay. I’ll call your number out.

      After the State and the defense exercised their peremptory strikes, Martin

raised a Batson v. Kentucky3 challenge to the State’s striking of three venire

members, which the trial court overruled.4 Martin then objected to one of the trial

court’s statements during voir dire:

      Defense:     That was a comment made by the Court at the end of my
                   voir dire as to whether or not they could—you said if—I
                   think that it tainted the jury that you made a comment on
                   the case, and I think the jury is tainted about due process.5

      Court:       If I recall when I made the statement, I followed up with
                   the statement that I said that, you know, if that was what
                   the evidence had proved, but I also came back and said
                   that you have to consider all the evidence. That was the
                   point I was actually making. You can’t just take into
                   consideration that you know the allegations itself. So, that
                   was my point. I think that’s what I said. Is that not true?

      State:       I agree with you. I believe that the other statement that you
                   made was that but we have to follow the law. The law in
                   the State of Texas that somebody is charged with can carry
                   from probation to 99 years, and so it is perfectly
                   permissible for you to say this is what people feel like.

      Defense:     The caveat is that the people think differently.

      Court:       Well, I mean, if you are saying, [defense counsel], I think
                   I bent over backwards and made it harder for the State

3
      See Batson v. Kentucky, 476 U.S. 79, 89 (1986) (holding Fourteenth Amendment’s
      Equal Protection Clause forbids State from exercising peremptory strikes based
      solely on potential juror’s race).
4
      Martin does not appeal from that ruling.
5
      Martin is not raising a due process challenge on appeal.

                                           8
                    when you are saying there were several sentences where
                    he is a good guy. I tried to level the playing field. And
                    there are reasons why a person could get probation, even
                    Jesus Christ, that to me, if anything doesn’t get much fairer
                    than that. You need to consider the law. Just because you
                    don’t like the way a person is accused doesn’t mean that—
                    we need to know. If you can put that aside and follow the
                    law. That was my whole line of questioning. I don’t think
                    I stepped over the line. It is well noted on the record and if
                    it needs to go up, then you have your record made.

      Defense:      All right.

      Court:        So, I will overrule that.

The jury was impaneled, and trial began the next day.

B.    Trial Testimony

      Kendallyn Harris, the complainant, testified that she was walking to the

convenience store with her cousins Keiara Williams and Azaria Stevenson when

Martin stopped his car and offered them a ride. The women agreed and got into

Martin’s car. Harris sat in the front passenger seat, and Williams and Stevenson sat

in the back seat. Williams sat behind the passenger seat and Stevenson sat in the

middle. After taking them to A&amp;M Mart and a liquor store, Martin drove Williams

and Stevenson back to their house. Martin asked Harris to ride back with him to the

store and Harris agreed.

      Instead of taking Harris to the store, Martin drove her to an apartment complex

and parked his car in the parking lot. Martin was in the driver’s seat and Harris sat

in the front passenger seat. According to Harris, Martin “tried to pull [her] closer to

                                           9
him.” They “were up in the middle of the front seat where” the center console was

located. Harris told Martin she did not want to have sex with him, and she tried to

keep him from pulling her shirt and shorts down. Martin, however, pulled Harris’

shorts down, inserted his penis into her vagina, and ejaculated onto her stomach.

Harris testified:

      I didn’t fight back more because he was under the influence. And, well,
      when I seen that he had a gun, I didn’t want to do anything further just
      because he was not in his normal mind. So, I didn’t want his mind to
      think that he had to use that, because I was trying to escape or anything
      like, as far as his madness. So, that’s why I didn’t fight back or just
      proceed to get out of the car.

According to Harris, Martin’s gun was “sitting on the floor, on the little step in the

middle of the floor under the radio” in the front seat. She testified it was near the

center console where it remained the entire time. Harris did not know when the gun

was placed on the mound near the center console but she “noticed it when [they]

were on the way to the apartments.” Harris also testified:

      During the time of the act, I noticed [the gun] during after the fact that
      he was doing what he was doing, and that’s when I kept looking to
      make sure, like, in my mind hopefully he does not use it. So, that’s
      when I was thinking like put up a good fight, get out of this car, and
      that’s whenever I noticed that the gun—I don’t know how to put it to
      you. I don’t know.

When asked if she would have done anything differently if the gun had not been by

the center console, Harris testified:

      I probably would have gotten out of the car. I probably would have []
      used my taser, because I had a taser with me. But I did not use it

                                         10
      because, again, he had a more powerful weapon than me. So, I didn’t
      want to start bringing it out because he has a gun.

Harris testified that Martin drove her home after he assaulted her.

      Harris was shown a photograph of the interior of Martin’s car and asked to

circle with her finger where the gun was located. After, in connection where Harris

circled the photograph, the court stated, “Let the record reflect that what I call the

hump in between the passenger seat and the driver’s seat, below the console.” On

cross-examination, Harris testified that Martin never pulled out the gun, threatened

her with the gun, or pointed the gun at her.

      Williams also testified at trial. She testified that when Martin dropped her and

Stevenson off at their home, Martin claimed he had left something at the store, and

he asked Harris to drive back with him to the store to retrieve it. Williams did not

think it was a good idea for Harris to drive back to the store with Martin:

      State:       Were you concerned at all—I guess, was there anything
                   interacting with him and being in his vehicle that made
                   you concerned about her going with him?

      Williams:    Well, the weapon that he had, but, I mean, in today’s
                   world, everyone carries a weapon. So, I can’t say, Oh, hey,
                   don’t carry. You know, I can’t say, why does he have it in
                   his car, because I know a lot of people carry weapons.

      State:       What weapon was it.

      Williams:    It was an actual gun.

      State:       And where was it?


                                           11
      Williams:     It was sitting—I don’t know if it fell out of his pocket
                    when we went to the store or with whatever, but it was like
                    —he picked it out of the—it fell on the little thing between
                    the seat. I think it is called a console.

      State:        When did he do that?

      Williams:     Like it was—I don’t remember if it was in the turn, but it
                    was probably ready to go.

      State:        He took it out while you were in the vehicle?

      Williams:     He didn’t take it out. It must have fell out and he just laid
                    it on there.

      State:        I see. And just for clarification, what did it fall out of?

      Williams:     I’m guessing out of something he had on. His clothing or
                    whatever.

      State:        Okay. So, you didn’t see it until it fell out?

      Williams:     Yes, ma’am.

      Williams was shown a photograph of the interior of Martin’s car and asked to

circle with her finger where the gun was located “after it fell out.” After she pointed

to the photograph, the court stated, “Let the record reflect on State’s Exhibit 23, the

witness has circled the console area.” Williams testified that the gun remained in

the console while she was in the car.

      Williams testified that she knew something had happened when Martin

dropped Harris off at her house because Harris was upset and disheveled. After

Harris told her family what had happened between her and Martin, one of Harris’s

family members called 911. Williams testified that she spoke to one of the officers

                                           12
who responded to the call, and she gave the officers Martin’s name, his physical

description, and a description of his car. Martin was detained by police later that

day.

       When Texas Ranger Chris Rainwater searched Martin’s car, he found a 9

millimeter Torus pistol in “the pouch of the rear portion of the front passenger seat,”

and two 12-round magazines in the center console. One magazine had ammunition

in it and the other did not.6 Photographs of the gun Ranger Rainwater found in

Martin’s car were admitted into evidence and Harris identified the gun in the

photographs as the gun she saw in Martin’s car when he assaulted her.

       After the State rested its case, Martin moved for a directed verdict arguing the

State had failed to prove that he had used or exhibited a deadly weapon during the

course of the sexual assault. After hearing arguments from Martin and the State, the

trial court denied Martin’s motion.7

       The jury found Martin guilty of aggravated sexual assault and it made an

affirmative finding that Martin used or exhibited a deadly weapon during the sexual

assault.


6
       There is no testimony regarding whether the pistol was loaded during the sexual
       assault, and Martin does not argue on appeal that the evidence is insufficient to
       support the deadly weapon finding because the pistol was unloaded.
7
       After the trial court denied Martin’s motion for directed verdict, Martin made his
       opening statement and then called one witness, Davion Jackson. Jackson’s
       testimony is not relevant to our analysis concerning the sufficiency of the evidence
       supporting the jury’s deadly weapon finding.

                                            13
C.    Punishment Hearing

      Martin elected to have the jury assess his punishment. During the punishment

hearing, Harris testified that because of the assault, she is less trusting of others and

more careful about who she interacts with:

      State:     Can you tell the jury, do you have any strong feelings about
                 what punishment should be in this case?

      Harris:    Oh, I would like for him to get more—State: Yes. So, in a
                 case like this, he could potentially get probation or prison
                 time. Do you have strong feelings about what the jury does?

      Harris:    No, I don’t.

      The jury also heard from Jayla Weaver, who testified that Martin attempted

to assault her sexually two weeks after he assaulted Harris. The court also admitted

testimony and evidence that Martin had pleaded guilty to committing a Class A

misdemeanor offense of assault-family member and had been sentenced to five days

in the county jail. Martin committed that offense on October 31, 2020, two months

after he sexually assaulted Harris. Two years earlier, in December 2018, Martin also

pleaded guilty to the Class B misdemeanor offense of possession of marijuana and

was placed on six months deferred adjudication community supervision.

      The jury also heard from Martin’s grandmother, mother, former teacher, and

a friend who testified that Martin is a good father to his two young daughters and he

was his six-year-old daughter’s primary caregiver. They also testified that Martin



                                           14
was employed and lived with and cared for his mother, who had an inoperable brain

tumor.

      During closing arguments, Martin’s defense counsel argued that the jury

should recommend probation because Martin’s terminally ill mother and young

daughter were dependent upon him, he had successfully completed deferred

adjudication community supervision for his drug offense, and Harris did not have a

strong opinion as to whether Martin should be sentenced to prison or placed on

probation. Martin’s defense counsel asked the jury for mercy and stated that Martin

would “gladly do all ten years of probation, gladly.”

      The State argued that probation was not appropriate because Martin had

attempted to assault Weaver only two weeks after sexually assaulting Harris, and

although Martin had successfully completed deferred adjudication community

supervision for his drug offense, Martin had not learned from the experience because

he had not faced any consequences for his actions. The State asked the jury to assess

Martin’s punishment as incarceration, not probation.

      The jury assessed Martin’s punishment at seven years’ incarceration but did

not recommend probation. This appeal followed.

                             Deadly Weapon Finding

      In his first issue, Martin argues there is insufficient evidence to establish he

used or exhibited a deadly weapon when he sexually assaulted Harris because he


                                         15
never brandished the gun or pointed it at Harris, he did not mention the gun before,

during, or after the sexual assault, and he did not threaten Harris with harm during

the sexual assault.8 The State argues that the evidence is sufficient to support the

jury’s affirmative deadly-weapon finding because the gun was visible to Harris and

within Martin’s reach during the sexual assault, and Harris testified that but for the

presence of Martin’s gun near the car’s center console, she would have fought back,

used her taser, and tried to get out of the car.

A.    Standard of Review

      An appellant’s challenge to the trial court’s denial of a motion for directed

verdict is a challenge to the sufficiency of the evidence. Williams v. State, 937

S.W.2d 479, 482 (Tex. Crim. App. 1996). We review a challenge to the sufficiency

of the evidence under the standard enunciated in Jackson v. Virginia, 443 U.S. 307
(1979). See Brooks v. State, 323 S.W.3d 893, 895 (Tex. Crim. App. 2010) (holding

sufficiency challenges are reviewed under standard set forth in Jackson v. Virginia).

We examine the evidence in the light most favorable to the jury’s verdict to

determine whether “any rational trier of fact could have found the essential elements

of the crime beyond a reasonable doubt.” Jackson, 443 U.S. at 319; Merritt v. State,

368 S.W.3d 516, 525 (Tex. Crim. App. 2012). We review all introduced evidence,



8
      Martin does not challenge the sufficiency of the evidence supporting the jury’s
      finding that he sexually assaulted Harris.

                                           16
whether properly or improperly admitted. See Winfrey v. State, 393 S.W.3d 763,

767 (Tex. Crim. App. 2013); see also Powell v. State, 194 S.W.3d 503, 507 (Tex.

Crim. App. 2006) (“[A] reviewing court is permitted to consider all evidence in the

trial-court record, whether admissible or inadmissible, when making a legal-

sufficiency determination.”).

      “The jury is the sole judge of the credibility and weight to be attached to the

testimony of witnesses.” Merritt, 368 S.W.3d at 525 (citing Jackson, 443 U.S. at

319). As the sole factfinder, the jury may reasonably infer facts from the evidence

presented, credit the witnesses it chooses, disbelieve any or all of the evidence or

testimony proffered, and weigh the evidence as it sees fit. See Canfield v. State, 429

S.W.3d 54, 65 (Tex. App.—Houston [1st Dist.] 2014, pet. ref’d). We afford almost

complete deference to the jury’s determinations of credibility. See id. (citing Lancon

v. State, 253 S.W.3d 699, 705 (Tex. Crim. App. 2008)). In the event of conflicting

evidence, we presume the jury resolved conflicts in favor of the verdict and defer to

that determination. Isassi v. State, 330 S.W.3d 633, 638 (Tex. Crim. App. 2010);

Canfield, 429 S.W.3d at 65. “Circumstantial evidence is as probative as direct

evidence in establishing guilt, and circumstantial evidence alone can be sufficient.”

See Jenkins v. State, 493 S.W.3d 583, 599 (Tex. Crim. App. 2016).




                                         17
B.    Deadly Weapon

      A deadly weapon is a “firearm, or anything manifestly designed, made, or

adapted for the purpose of inflicting death or serious bodily injury” or “anything that

in the manner of its use or intended use is capable of causing death or serious bodily

injury.” TEX. PENAL CODE § 1.07(a)(17). To sustain a deadly weapon finding, the

evidence must demonstrate that (1) the object meets the statutory definition of a

deadly weapon, (2) the deadly weapon was used or exhibited during the transaction

from which the felony conviction was obtained, and (3) other people were put in

actual danger. Mayes v. State, 536 S.W.3d 102, 109 (Tex. App.—Amarillo 2017,

pet. ref’d) (citing Brister v. State, 449 S.W.3d 490, 494 (Tex. Crim. App. 2014));

Brister, 449 S.W.3d at 494 (stating “actual danger” refers to risk of “death or serious

bodily injury”).

      Mere possession of a deadly weapon during the commission of a felony

offense is not sufficient to establish a deadly weapon finding. See Plummer v. State,

410 S.W.3d 855, 864–65 (Tex. Crim. App. 2013). Rather, the evidence must

establish some “facilitation connection” between the weapon and the felony offense.

Id. at 865.

      To determine whether a weapon was “used” to facilitate a felony, the evidence

must establish that the weapon furthered the commission of the offense or enabled,

continued, or enhanced the offense. Robinson v. State, 174 S.W.3d 320, 332 (Tex.


                                          18
App.—Houston [1st Dist.] 2005, pet. ref’d). The term “use of a deadly weapon” not

“only includes the wielding of a firearm, but also extends ‘to any employment of a

deadly weapon, even its simple possession, if such possession facilitates the

associated felony.’” Id. (quoting Patterson v. State, 769 S.W.2d 938, 940–41 (Tex.

Crim. App. 1989) (emphasis in original). A deadly weapon is “exhibited” if it was

“consciously shown or displayed during the commission of the offense.” Plummer,

410 S.W.3d at 858 (citing Patterson, 769 S.W.2d at 941). While a person “can ‘use’

a deadly weapon without exhibiting it, [] it is doubtful [that a person] can exhibit a

deadly weapon during the commission of a felony without using it.” Id. Proximity

is a factor courts consider to determine whether a deadly weapon was “used or

exhibited” during the commission of a felony. Id.
C.    Analysis

      Martin argues there is insufficient evidence to support the jury’s finding that

he “used or exhibited” a deadly weapon when he sexually assaulted Harris because

he never brandished the gun or pointed it at Harris, he did not mention the gun

before, during, or after the sexual assault, and he did not threaten Harris during the

sexual assault. According to Martin, the evidence merely showed that “the gun

inadvertently fell from [Martin] and was set on [the] ground in the front seat and was

never moved or referenced by [Martin].” He further argues that the “presence of the

firearm in the front seat did not place Harris in actual danger.”


                                          19
      The State argues the evidence is sufficient to support the jury’s finding that

Martin “used or exhibited” the gun when he sexually assaulted Harris because the

gun was visible to both Martin and Harris, the gun was within Martin’s reach when

he sexually assaulted Harris, and Harris testified she would have fought back or fled

had she not seen Martin’s gun.

      We agree with the State that the evidence is legally sufficient to support the

jury’s deadly weapon finding. We find the opinion in McCain v. State, 22 S.W.3d

497 (Tex. Crim. App. 2000) instructive to our analysis. In McCain, the defendant

burst into the complainant’s house, struck her several times with his fist, and stole

her car and pager. Id. at 499. The complainant testified that during the assault, she

saw an object that appeared to be a knife sticking out of the defendant’s back pocket,

and the defendant had a butcher knife in his pocket when he was arrested. Id. The

Court of Criminal Appeals held that the defendant, who did not verbally threaten the

complainant, brandish the knife, or refer to the knife during the assault, had

nevertheless “used or exhibited” the knife when he assaulted the complainant. Id.

at 503. The court stated:

      Had the knife been completely concealed by appellant’s clothing,
      additional facts would have been needed to establish that the butcher
      knife was used. But the knife was partially exposed, and from that
      exposure, the factfinder could rationally conclude that the knife was
      exhibited during the criminal transaction, or at least, that its presence
      was used by appellant to instill in the complainant apprehension,
      reducing the likelihood of resistance during the encounter.


                                         20
      We are not equating mere possession with “use or exhibit” under Texas
      Penal Code § 29.03(a)(2). Rather, the determining factor is that the
      deadly weapon was “used” in facilitating the underlying crime.

McCain, 22 S.W.3d at 503; see also see also Patterson, 769 S.W.2d at 939 (holding

deadly weapon was used where officers executing warrant for drug possession

entered home and found defendant sitting on a sofa, a gun located between

defendant’s leg and end of sofa, and a gun boot on an end table next to defendant);

Castillo v. State, 426 S.W.3d 135, 139 (Tex. App.—Houston [1st Dist.] 2012, no

pet.) (holding evidence was sufficient to support jury’s deadly weapon finding where

loaded semi-automatic rifle and shotgun were found in plain view leaning against

wall near drugs in room where defendant was sleeping).

      Like the court in McCain, we hold the jury rationally could have concluded

that the gun, which was in plain view in the center console of Martin’s car when he

sexually assaulted Harris, was exhibited during the criminal transaction, or at least,

that its presence was used by Martin to instill in the complainant apprehension,

reducing the likelihood of resistance during the encounter. Williams testified that

she saw the gun in Martin’s car before he dropped her and Stevenson at their home.

According to Williams, the gun fell out of some article of Martin’s clothing while

Martin was driving, and Martin “picked [the gun] up and laid it” on the center

console.




                                         21
      Harris testified that she saw the gun in Martin’s car when he drove her to the

apartment parking lot where he assaulted her. Although during cross-examination

she testified that Martin never pulled out the gun, threatened her with the gun, or

pointed the gun at her, she testified that the gun was “sitting on the floor, on the little

step in the middle of the floor under the radio” and near the center console. Martin

was sitting in the driver’s seat and Harris was sitting in the front passenger seat.

According to Harris, Martin “tried to pull [her] closer to him,” causing them to be

“up in the middle of the front seat where” the center console was located. Although

Harris struggled with Martin when he tried to pull her shorts down, she decided not

to fight back anymore, use her taser, or try to get out of the car because Martin’s

gun, which was on the floor near the center console, was clearly visible and within

Martin’s reach during the sexual assault and Harris was afraid he would use the gun

if she resisted or attempted to run.

      Based on Harris’s testimony that the gun was in plain sight, that the gun was

within Martin’s reach during the sexual assault, and that she decided to stop

struggling and to not use her taser or try to run because she saw the gun during the

assault and she was afraid Martin would use it if she resisted, the jury rationally

could have concluded that Martin used the presence of the gun in the car “to instill

in [Harris] apprehension, reducing the likelihood of resistance during the encounter,”

and thus that he used or exhibited the gun during the commission of the sexual


                                            22
assault. McCain, 22 S.W.3d at 503; see also Plummer, 410 S.W.3d at 865 (holding

weapon facilitates commission of felony if weapon “increase[s] the risk of harm,”

“otherwise contribute[s] to the result,” or plays role in “enabling, continuing, or

enhancing” associated felony); Robinson, 174 S.W.3d at 332 (stating use of deadly

weapon includes “any employment of a deadly weapon, even its simple possession,

if such possession facilitates the associated felony”).

       Given the visibility of the gun, which is a deadly weapon per se,9 and its

proximity to Martin during the sexual assault, the jury also could have rationally

concluded that Martin’s use or exhibit of the gun to facilitate the sexual assault posed

an actual danger to Harris. See Canfield, 429 S.W.3d at 65 (stating jury determines

weight of evidence and may reasonably infer facts from evidence presented); see

also Jenkins, 493 S.W.3d at 599 (holding circumstantial evidence alone can be

sufficient to establish guilt).

       We overrule Martin’s first issue.

                             Comment During Voir Dire

       Martin argues the trial judge violated Article 38.05 of the Texas Code of

Criminal Procedure by conveying to the venire panel his opinion regarding Martin’s

punishment. According to Martin, during voir dire, the trial judge conveyed to the



9
       TEX. PENAL CODE § 1.07(a)(17)(A) (stating definition of deadly weapon includes
       “a firearm”).

                                           23
venire panel his belief that someone convicted of sexual assault should be punished

with confinement rather than probation when the trial judge stated: “You may

believe that a person who has been convicted of sexually abusing another person

should be in jail. I agree with that principle, but you and I do not know if that man

here today is guilty of that offense.” The State responds that the trial court’s

comments during voir dire were not improper and did not reflect judicial bias. And

even if the trial court’s comments were improper, the State argues they were

harmless.10

A.    Applicable Law

      Trial judges must refrain from making any remark calculated to convey to the

jury their opinion of the case because jurors “are prone to seize with alacrity upon

any conduct or language of the trial judge which they may interpret as shedding light

upon his view of the weight of the evidence, or the merits of the issues involved.”

Brown v. State, 122 S.W.3d 794, 798 (Tex. Crim. App. 2003) (quoting Lagrone v.

State, 84 Tex. Crim. 609, 615, 209 S.W. 411, 415 (1919)).

      Article 38.05 of the Texas Code of Criminal Procedure states:

      In ruling upon the admissibility of evidence, the judge shall not discuss
      or comment upon the weight of the same or its bearing in the case, but
      shall simply decide whether or not it is admissible; nor shall he, at any

10
      Martin is not raising a due process challenge or arguing that the trial judge
      commented upon the weight of the evidence. TEX. CODE CRIM. PROC. art. 38.05.
      His argument is that he was denied a fair and impartial punishment proceeding
      because the trial court’s statement tainted the jury.

                                         24
      stage of the proceeding previous to the return of the verdict, make any
      remark calculated to convey to the jury his opinion of the case.

TEX. CODE CRIM. PROC. art. 38.05. By creating “a duty on the trial court . . . to

refrain sua sponte from a certain kind of action,” Article 38.05 provides the

defendant with a right to be tried in a proceeding devoid of improper judicial

commentary. See Proenza v. State, 541 S.W.3d 786, 798, 801 (Tex. Crim. App.

2017).

B.    Error

      At the beginning of voir dire, the trial judge instructed the jury that the

applicable punishment range in the case was five to ninety-nine years’ incarceration

and if the sentence imposed was less than ten years, the jury could recommend that

Martin be placed on probation for any term of not more than ten years. The trial

judge told the venire panel that they were not qualified to serve on the jury if they

could not consider the entire range of punishment, including probation. The judge

informed the venire panel that they would not be asked to commit to a specific

punishment. Rather, the court and the parties “simply need[ed] to know if [they

would] be able to keep an open mind as to the entire range of punishment until [they]

heard all the facts.” The judge acknowledged that while the facts in one case may

“require punishment in the upper range . . . there are also those kind of cases that do

not present those kinds of facts, and are worthy of lesser punishment.” The court

stated:

                                          25
      If you think about it you can probably imagine in your own mind cases
      of circumstances that will either allow for leniency or allow for a more
      severe punishment . . . .

The trial judge then made the comment to the venire panel that Martin complains

about on appeal:

      You may believe that a person who has been convicted of sexually
      abusing another person should be in jail. I agree with that principle, but
      you and I do not know if that man here today is guilty of that offense.
      He has not been convicted, only accused. We have not heard any
      evidence yet.11



11
      Martin acknowledges that he did not make a contemporaneous objection to the trial
      judge’s challenged comment. He nonetheless argues that even if he did not object
      at the time the trial court made the complained-of comment, he may raise the issue
      for the first time on appeal because the trial court’s error was fundamental. See
      Ganther v. State, 187 S.W.3d 641, 650 (Tex. App.—Houston [14th Dist.] pet. ref’d)
      (“Absent an objection, a defendant waives error unless the error is fundamental—
      that is, the error creates egregious harm.”); see also Blue v. State, 41 S.W.3d 129      (Tex. Crim. App. 2000) (plurality) (“The comments of the trial judge, which tainted
      appellant’s presumption of innocence in front of the venire, were fundamental error
      of constitutional dimension and required no objection.”).
      We hold that Martin is entitled to appellate review of his issue under Article 38.05
      but we disagree with him that he may raise the issue for the first time on appeal
      because the judge’s comments constituted “fundamental error.” The Court of
      Criminal Appeals’ opinion in Proenza v. State is instructive on this point. 541
      S.W.3d 786 (Tex. Crim. App. 2017) (stating “fundamental error” is not
      “freestanding doctrine of error-preservation”). In Proenza, the court rejected the
      defendant’s claim that the trial judge had committed fundamental error by
      questioning a witness during his trial and thus the defendant was able to challenge
      the trial court’s questioning of the witness for the first time on appeal. As the court
      explained:
         Although Proenza did not contemporaneously object to the trial judge’s
         improper questioning of a witness, he was nevertheless entitled to appellate
         review of his claim that, in so doing, the judge violated Texas Code of
         Criminal Procedure Article 38.05. This is not because the trial judge’s
         comments rose to the level of “fundamental error,” but rather because claims
                                            26
         During voir dire, the defense asked the venire panel if, on a scale of one to

seven, they agreed with the statement, “If the facts justified it, and the law allowed

it, I could not consider assessing the minimum punishment and recommended

probation.” After hearing the panel members’ answers, the trial judge told the venire

panel:

         I do have a question after everybody answered that question. I want to
         make sure y’all understand, or make sure that after I heard a lot of 1s
         and 2s. If I give you, as this Court, an instruction that you are to consider
         probation upon a guilty of aggravated sexual assault, can you do that?
         Y’all haven’t heard any facts. You don’t know what the facts are. Y’all
         might say, “oh, I heard that, I can make that decision.” So, I guess my
         question is: I need to make sure that you’re not saying, “Oh, if he is
         guilty of sexual assault, I’m not doing probation.” Because that’s not
         what the law is. That’s not going to be what the instructions [are]. Can
         you follow the law if I give you that instruction? If anybody can’t
         follow that instruction on the law, I need you to raise your hand. That’s
         what we are talking about. Okay. All right.

         ....

         If you can’t follow the law, I can’t put you on the jury. . . . Because I
         have to have fair jurors over there to follow the law and the instructions
         that I give on the law. . . . Hypothetically, I don’t know anything about
         this case. . . . But you have got to listen to the facts. Right? You can’t
         just jump to that conclusion, which is kind of what the question is doing.
         He wants to get your gut reaction on these things. . . . If you are saying,
         “Man, if this gentleman is guilty of aggravated sexual assault without
         not knowing any of the facts, then I’m going to not give him probation,”

            brought under Article 38.05 are not, in [Marin v. State’s] framework, subject
            to forfeiture by inaction.
         Id. at 802. Cf. Marin v. State, 851 S.W.2d 275, 278–80 (Tex. Crim. App. 1993),
         overruled on other grounds, Cain v. State, 947 S.W.2d 262, 264 (Tex. Crim. App.
         1997). Following Proenza, we consider Martin’s challenge to the trial court’s
         comments under Article 38.05.

                                              27
      and that’s not what the law says he is possibly entitled to, and you are
      not following the law.

      ....

      . . . I’m saying that there might be extenuating circumstances in the case
      that maybe you think, “Well, knowing that, maybe I will give him
      probation.” All right? Like prior criminal history or it might be that the
      answer is no. He could have been a choir boy, he could be Jesus Christ,
      but if he did that, then no, he is gone. Does that make sense? So, what
      I’m asking is if you can consider everything before making the
      decision, and if you can do that. I’m not saying that you have to give
      someone probation. Just like I’m not saying you have to give someone
      99 years. But can you consider the whole spectrum, because the law
      says that you can. Do we understand?

      . . . And I don’t know what the facts are in this case, okay? But let’s say
      there are facts here that say, “You know what, he is a good kid or go[od]
      boy or a good man or whatever, and because of this, this, and this, yeah,
      he is a candidate for probation.” Or the same thing on the other side.
      “Man, he is the most evil person you ever met in your life. He deserves
      99 years.” I’m just asking that you consider all of that after you hear the
      facts of the case. But some people come in so blindly and it’s rare, but
      some people come in blindly that, “No, if it’s this way.” Like the young
      lady that I excused earlier. Her religion says, “No, I cannot judge
      anyone at all.” That was her religion. So I excused her. So, that’s what
      I’m asking. I’m not asking you to give someone probation. I’m asking
      that you consider. And so, does that change anybody’s mind?

      ....

      Can you follow my instructions and follow the law, is the question. And
      in these type cases probation is something that the law allows you to
      consider. Is there anybody that cannot do that?

      Although the trial judge told the venire members that while they may “believe

that a person who has been convicted of sexually abusing another person should be

in jail” and that “he agreed with that principle,” he did not convey his opinion as to

                                          28
whether Martin, if convicted, should be incarcerated, and the judge reminded the

jury that they had not yet heard any evidence and that he and the parties needed to

confirm they would be able to follow the law and consider the whole range of

punishment. See TEX. CODE CRIM. PROC. art. 38.05 (prohibiting judges from

“mak[ing] any remark calculated to convey to the jury his opinion of the case”).

Moreover, the trial judge’s comment was not made in isolation. Rather, as noted,

the judge’s comment was part of an extended discussion regarding the prospective

jurors’ ability to consider the entire range of punishment, including probation. See

Proenza, 541 S.W.3d at 800 (indicating that when deciding challenge to improper

judicial comments under Article 38.05, courts should consider comments “in the

context of a particular trial”).

       During voir dire, the trial judge repeatedly reminded the venire panel that each

case should be considered on its evidence, and that while some circumstances might

warrant imposing the maximum sentence of 99 years’ incarceration, probation might

be more appropriate under other circumstances. The trial judge also reminded the

panel that they had not yet heard any evidence yet, and they were only being asked

whether they could consider recommending probation for Martin, and that he could

not have someone on the jury that could not consider the whole range of punishment,

including the possibility of probation:

       So, I guess my question is: I need to make sure that you’re not saying,
       “Oh, if he is guilty of sexual assault, I’m not doing probation.” Because
                                          29
      that’s not what the law is. That’s not going to be what the instructions
      [are]. Can you follow the law if I give you that instruction? If anybody
      can’t follow that instruction on the law, I need you to raise your hand.
      That’s what we are talking about. Okay. All right.

      ....

      If you can’t follow the law, I can’t put you on the jury.

      Based on the record before us, we conclude that the trial judge’s statement to

the venire panel about which Martin complains did not violate Article 38.05 because

the comment was not calculated to convey to the panel the judge’s opinion of the

case against Martin. See TEX. CODE CRIM. PROC. art. 38.05 (prohibiting judges from

“mak[ing] any remark calculated to convey to the jury his opinion of the case”).

      We overrule Martin’s second issue.

                                    Conclusion

      We affirm the trial court’s judgment.



                                              Veronica Rivas-Molloy
                                              Justice


Panel consists of Justices Kelly, Countiss, and Rivas-Molloy.

Do Not Publish. TEX. R. APP. P. 47.2(b).




                                         30
